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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


BAHIA AMAWI, et al.,                          Case No. 1:18-cv-01091-RP
                                              Case No. 1:18-cv-01100-RP
             Plaintiffs,

       vs.

PFLUGERVILLE INDEPENDENT SCHOOL
DISTRICT, et al.,

             Defendants.


    AMAWI PLAINTIFF AND PLUECKER PLAINTIFFS’ JOINT OPPOSITION
               TO MOTION FOR STAY PENDING APPEAL

       The Amawi Plaintiff and the Pluecker Plaintiffs oppose the Attorney

General’s Motion for Stay Pending Appeal. Dkt. 83. This Court, in a comprehensive,

56-page Order (Dkt. 82), concluded that H.B. 89, the Texas Anti-BDS Act, is

unconstitutional. The Court held that NAACP v. Claiborne Hardware Co., 458 U.S.

886 (1982), and not Rumsfeld v. FAIR, 547 U.S. 47 (2006), governs this case. Dkt.

82 at 23-26. Because the law punishes protected speech, the Anti-BDS Act could be

upheld only if narrowly tailored to serve a compelling state interest. Id. at 26-32.

The Court held that the Anti-BDS Act neither serves a compelling state interest nor

is narrowly tailored, and thus is unconstitutional. Id. at 32-36 and 36-37. The

Court separately concluded the Texas Anti-BDS Act violates other First

Amendment doctrines.       The statute imposes an unconstitutional condition on

government contracts, id. at 38-40, unconstitutionally compels speech, id. at 40-43,




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and is unconstitutionally vague, id. at 43-46. Each of the Texas Anti-BDS Act’s

First Amendment infirmities independently justifies the Preliminary Injunction.

      The Attorney General seeks a stay pending appeal. Dkt. 83. A stay pending

appeal is “not a matter of right,” but “an exercise of judicial discretion,” and the

party seeking the stay “bears the burden of showing that the circumstances justify

an exercise of that discretion.” Nken v. Holder, 556 U.S. 418, 433–34 (2009). Judicial

analysis of a motion to stay pending appeal tracks the same factors as a preliminary

injunction itself. See id. at 434 (“There is a substantial overlap between these and

the factors governing preliminary injunctions.”); Illusions-Dallas Private Club v.

Steen, 04-cv-201, 2008 WL 2490457, at *1 (N.D. Tex. June 20, 2008) (“same factors

are applicable”) (citing Restaurant Associates. v. Fort Worth, 259 F.Supp.2d 559, 560

(N.D. Tex. 2003)). In light of the Court’s thorough preliminary injunction analysis,

the Attorney General cannot justify a stay pending appeal.

      The Attorney General does not make any new argument or point out any

issue, fact, or principle the Court overlooked. Dkt. 83 at 2-5. Repetition of already-

rejected arguments is insufficient for a stay pending appeal. See Kahara Bodas Co.

v. Perusahaan Pertambangan Minyak Dan Gas Bumi Negara, 264 F. Supp. 2d 484,

487 (S.D. Tex. 2002) (rejecting motion to stay preliminary injunction when it was

functional equivalent of a motion for reconsideration, raising the same arguments

that had already been considered and rejected).       The Attorney General is not

seeking reconsideration of any portion of the Court’s opinion, but rather seeks a




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stay on the basis that this Court’s 56-page opinion was entirely wrong. Dkt. 83 at 2.

The Court should reject this effort.

              With respect to the merits, the Attorney General largely repeats the same

arguments raised in his briefing. He argues that under Rumsfeld v. FAIR, 547 U.S.

47 (2006), boycotts are not protected speech, but, as this Court has already held,

FAIR is inapposite. NAACP v. Claiborne Hardware Co., 458 U.S. 886 (1982), which

explicitly concerned political consumer boycotts, governs this case, and Claiborne

holds that political consumer boycotts are protected speech under the First

Amendment.1 Dkt. 83 at 2-3; but see Dkt. 82 at 23-26. The Attorney General also

disputes that the Act is viewpoint and content discriminatory or compels speech,

but relies on the same flawed assertion that the Act does not prohibit speech. Dkt.

83 at 3; but see Dkt. 82 at 29-32.

              The Attorney General repeats the failed argument that the Act is a national

origin discrimination measure, Dkt. 83 at 3-4. But, as this Court held, the plain text

of the statute does not prohibit discrimination on the basis of Israeli national origin

or any other protected characteristic, Dkt. 82 at 32-33. It instead prohibits boycotts

of the nation of Israel or any company that does business in Israel for any reason,

including political disagreement with those companies or Israel. Id. The Attorney

General’s assertion (Dkt. 83 at 4) that because Israel is populated largely by


																																																													
1 The Attorney General argues that the plaintiffs in FAIR characterized their
actions as a boycott and cited to Claiborne, but that does not disturb the fact that
the Supreme Court did not characterize the action before it as one of a boycott and
did not cite to much less overrule Claiborne.



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Israelis, boycotting the nation of Israel is necessarily national origin discrimination

has no basis in the law or logic.

      The Attorney General also argues for the first time that United States v.

O’Brien, 391 U.S. 367, 384 (1968), and not the modified Pickering v. Bd. of Edu., 391

U.S. 593, 568 (1969), analysis should apply here. Dkt. 83 at 4-5. As an initial

matter, by waiting until the Motion to Stay to make this argument, the Attorney

General has waived it. Martco Ltd. P'ship v. Wellons, Inc., 588 F.3d 864, 877 (5th

Cir. 2009); Lincoln Gen. Ins. Co. v. De La Luz Garcia, 501 F.3d 436, 442 (5th Cir.

2007). Further, because the Act is directed at punishing disfavored speech, O’Brien

is inapplicable. Texas v. Johnson, 491 U.S. 397, 407 (1989) (“we have limited the

applicability of O’Brien’s relatively lenient standard to those cases in which the

governmental interest is unrelated to the suppression of free expression”) (citation

and quotation marks omitted). Regardless, the Act also fails the standard

articulated in O’Brien because the Attorney General cannot show that the Act

promotes a substantial government interest or that the purportedly “incidental”

restriction on the First Amendment is narrowly tailored in furtherance of such an

interest. 391 U.S. at 377.

      Finally, the Attorney General argues that the Act is not unconstitutionally

vague because the phrase “any action” should be construed to be limited to only

economic actions. Dkt. 83 at 5. The Court has already rejected this reading of the

Act. Dkt. 82 at 44. Even if the Attorney General’s reading was correct, his argument

still ignores the “ordinary business purposes” carve out in combination with the




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clause prohibiting any action intended to inflict economic harm on Israel still

renders the statute unconstitutionally vague. Dkt. 82 at 44-46.

      In a footnote, the Attorney General separately argues that the Court should

have considered whether to sever these clauses from the Act. Dkt. 83 at 5 n.1. But

how does one sever the unconstitutionally vague “ordinary business purposes”

exception? If the court severed this exception, it would extend the reach of the Act to

whatever conduct the legislature intended to exempt. This rewriting and expanding

of the statute cannot be done in the name of severability. R.R. Ret. Bd. v. Alton R.

Co., 295 U.S. 330, 362 (1935). And, in any event, as the Court has held, the entire

Act is unconstitutional for all the other reasons discussed above.

      The Attorney General’s arguments on the remaining factors for a stay fare no

better. The Attorney General argues that enjoining a law enacted by the State will

cause it irreparable harm, Dkt. 83 at 2, but that is not the case where, as here, the

law is unconstitutional.     The State “can never have a legitimate interest in

administering [a regulation] in a way that violates federal law.” Planned

Parenthood of Gulf Coast, Inc. v. Gee, 862 F.3d 445, 471 (5th Cir. 2017); see also

Dkt. 82 at 48 (“the public interest is not served by Texas’s continued enforcement of

a statute Plaintiffs have shown likely violates the First Amendment”). On the

contrary, “[t]he loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373

(1976) (plurality opinion). The Attorney General’s argument that a stay would be in




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the public interest because the Act serves the State’s interest in preventing

discrimination, Dkt. 83 at 2, has also been rejected by this Court, Dkt. 82 at 48.

      The only other issue raised by the Attorney General is the revision of the

Anti-BDS law, which passed the Senate on May 2, 2019.             Dkt. 83 at 5-6. The

government argues that, in light of this amendment, staying the preliminary

injunction pending appeal would “prevent confusion in the formation of state

contracts in the few weeks prior to the likely mooting of this action.” However, the

sole government interest implicated by this argument is the ability to continue to

promulgate an unconstitutional law. This is especially true given that the

amendment does nothing to cure the law’s constitutional defects.          That is not

enough to justify a continued violation of Plaintiffs’ First Amendment rights. The

Attorney General cites no authority for the proposition that the loss of Texas’s

ability to violate the constitution is cognizable injury to the state. Moreover, the

state offers no argument, much less evidence, to explain how enforcement of the

clear terms of the preliminary injunction would cause confusion, nor why such

confusion is uniquely caused by an amendment to the Anti-BDS law. In fact, none of

this has anything to do with a motion to stay pending appeal.

Dated: May 6, 2019

                                        Respectfully submitted,

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